
Hall, Judge.
Miller is not a party to the proceedings now before the Court, and no decree, for that reason, can be made against him. We cannot, therefore, undertake to vacate the grant complained of, which the . state made to him.
The act of 1793, which gives this court jurisdiction in regard to grants, does not give it jurisdiction with regard to mesne conveyances from one man to another. Therefore we have no power to disturb the conveyances made to Logan, and to those under whom he claims. Whatever title he may have by possession, under colour of those mesne conveyances, we must leave him in thq undisturbed possession of. I agree in opinion with the judge in the Superior Court, that the petition must bf dismissed with costs.
•The other Judges concurred,
